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13                    IN THE UNITED STATES DISTRICT COURT
14                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
     In the Matter of Seizure of:             Case No. 2:18-cv-06742-RGK (PJW)
16
     Any and all funds held in Republic
17                                            [RELATED CASES 2:18-cv-08569;
     Bank of Arizona Account(s)
                                              2:18-cv-08588; 2:18-cv-08565; 2:18-cv-08566;
18   xxxx1889, xxxx2592, xxxx1938,
                                              2:18-cv-08568; 2:18-cv-08570; 2:18-cv-08577;
     xxxx2912, and, xxxx2500 (and
19                                            2:18-cv-08578; 2:18-cv-08579; 2:18-cv-08592;
     Related Cases).
                                              2:18-cv-08551; 2:18-cv-08555; 2:18-cv-08556;
20                                            2:18-cv-08723; 2:18-cv-08423; 2:18-cv-08730;
21                                            2:19-cv-09949; 2:18-cv-08747; 2:18-cv-08748;
                                              2:18-cv-08749; 2:18-cv-08750; 2:18-cv-08753;
22                                            2:18-cv-08754; 2:18-cv-08759; 2:18-cv-08760;
23                                            2:18-cv-08763; 2:18-cv-08764; 2:18-cv-08420;
                                              2:19-cv-07048; 2:19-cv-07039; 2:19-cv-07032;
24                                            2:19-cv-07044]
25
                                              PRELIMINARY INJUNCTION APPEAL
26
                                              JOINT NOTICE OF APPEAL Re: Order
27                                            Denying Motion to Vacate or Modify
28                                            Multiple Civil Seizure Warrants

                                PRELIMINARY INJUNCTION APPEAL
Case 2:18-cv-06742-RGK-PJW Document 132 Filed 12/24/19 Page 2 of 17 Page ID #:4205



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                             PRELIMINARY INJUNCTION APPEAL
Case 2:18-cv-06742-RGK-PJW Document 132 Filed 12/24/19 Page 3 of 17 Page ID #:4206



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 5   Email: bf@federlawpa.com
 6   Attorneys for Scott Spear

 7         NOTICE IS HEREBY GIVEN that Movants Michael Lacey, James Larkin,
 8
     John Brunst, and Scott Spear in the above-named case, hereby appeal this Civil Matter
 9

10   to the United States Court of Appeals for the Ninth Circuit from an Order Denying

11   Claimants’ Motion to Vacate or Modify Seizure Warrants filed December 20, 2019.
12
     Entered on the docket in this action as docket number 130. A copy of said order is
13
     attached hereto.
14

15         DATED: December 24, 2019         Robert Corn-Revere
                                            James C. Grant
16
                                            DAVIS WRIGHT TREMAINE LLP
17                                          By: /s/Robert Corn-Revere______
                                                  Robert Corn-Revere
18
                                                  Attorneys for James Larkin
19                                                 and Michael Lacey
20
           DATED: December 24, 2019         Thomas H. Bienert, Jr.
21                                          Whitney Z. Bernstein
22                                          BIENERT KATZMAN, PLC
                                            By: /s/ Whitney Z. Bernstein_____
23                                                Whitney Z. Bernstein
24                                                Attorneys for James Larkin

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                              PRELIMINARY INJUNCTION APPEAL
Case 2:18-cv-06742-RGK-PJW Document 132 Filed 12/24/19 Page 4 of 17 Page ID #:4207



 1        DATED: December 24, 2019     Gary S. Lincenberg
 2                                     Ariel A. Neuman
                                       Gopi K. Panchapakesan
 3                                     BIRD, MARELLA, BOXER, WOLPERT,
 4                                     NESSIM, DROOKS, LINCENBERG &
                                       RHOW, P.C.
 5                                     By: /s/ Ariel A. Neuman________
 6                                            Ariel A. Neuman
                                              Attorneys for John Brunst
 7

 8        DATED: December 24, 2019     Paul J. Cambria, Jr.
                                       LIPSITZ GREEN SCIME CAMBRIA LLP
 9                                     By: /s/ Paul J. Cambria, Jr.______
10                                            Paul J. Cambria, Jr.
                                              Attorneys for Michael Lacey
11

12
          DATED: December 24, 2019     John K. Rubiner
13                                     BARTON, KLUGMAN & OETTING LLP
                                       By: /s/ John K. Rubiner____________
14
                                             John K. Rubiner
15                                           Attorneys for Scott Spear
16

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                           PRELIMINARY INJUNCTION APPEAL
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1                            CERTIFICATE OF SERVICE
2          CERTIFICATE OF SERVICE I certify that on this 24th day of December,
3    2019, I electronically transmitted a PDF version of this document to the Clerk of
     Court, using the CM/ECF System, for filing and for transmittal of a Notice of
4    Electronic Filing to the following CM/ECF registrants listed below.
5
           /s/ Robert Corn-Revere
6          Robert Corn-Revere
7
     CM/ECF Registrants:
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